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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                         www.flsb.uscourts.gov



In re:                                                 Case 22-14766-SMG
                                                       Chapter 13

RALPH SANDERS
        Debtor            /


AMENDED APPLICATION FOR COMPENSATION FOR PROFESSIONAL SERVICES
OR REIMBURSEMENT OF EXPENSES BY ATTORNEY FOR CHAPTER 13 DEBTOR


         Applicant,     Michael J. Brooks , was retained by the debtor to serve in this

bankruptcy case as attorney for debtor.          A copy of the retainer agreement is attached

as Exhibit “A”.         Pursuant to Local Rule 2016-1(B)(2) and the “Chapter 13 Fee

Guidelines”, applicant hereby requests the court to approve compensation and

reimbursement of expenses as follows:

                Total Fees Requested:                            $ 7,000.00

                Total Expenses to be Reimbursed:                 $ 0

                Amount Received To-Date:                         $ 2,000.00
                (exclusive of filing fees)

                Amount to be Paid through Plan:                  $ 5,000.00

         1.     The amount requested, if allowed, will be paid in full after 6 monthly

payments under the plan.

         2.     A detailed itemization of the services rendered to date and corresponding

time entries is attached as Exhibit “B”.

         3.     Applicant estimates that an additional           10    hours will be required to be
expended in providing legal services on behalf of the debtor(s) described below:



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    This case is very complicated. There are numerous title issues and it is unknown at
this time whether the legal description of the mortgage and the property owned by the
debtor match. The undersign needed to review the title policy, appraisal and numerous
surveys to determine whether the property given to him by warranty deed was the
actual property he now owns. It doesn’t seem like it. Fidelity title has notified the debtor
that there is a title defect the extent to which is unknown. The undersign needed to
make a determination of whether the real estate issues in this case were jurisdictional.
A determination was made at this court and did not make jurisdiction regarding the title
issues and it was best serve to remove the property from the plan to allow the debtor to
litigate this matter in state court.
         4.     The following is a short statement of any unusual, troublesome or unique
aspects of this case which resulted in or will result in more than the usual amount of
time being expended and more than the usual amount of costs being incurred:
Same as paragraph 3                                                                      .
         5.     The source of compensation previously paid to applicant was

.
         6.     Applicant has not shared or agreed to share any compensation received in

connection with the bankruptcy case with any person or entity other than a member or

regular associate of applicant’s firm. (If such a sharing arrangement exists, it should be

disclosed in this paragraph.)


DATED:        November 7, 2022

                                                       /s/
                                                  Applicant’s Signature
                                                  Michael J. Brooks, Esq
                                                  Name
                                                  8660 West Flagler Street
                                                  Address
                                                  Miami, FL 33144




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                                             1-877-290-9197
                                             Phone

c: Debtor
   Chapter 13 Trustee




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